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4- DUE TO CHRONIC STRESS CAUSED BY THE UNITED STATES GOVERMENT AND
INABILITY TO DO ANYTHING WRITING OR PREPARING OR FETCHING EVIDENCES OR
USING ELECTRONICS AND FORCIBLY ANTIPSYCHOTIC TREATMENT AMR
ABDELWASE ALAIDRUS WILL WRITE RANDOMLY

2- ABDELWASE ALAIDRUS THE FATHER OF AMR ALAIDRUS AND OTHERS HE WAS IN
THE SAUDI ARABIA WORKING AS CONSTRUCTOR AND RETURNED TO YEMEN AND
APPLIED FOR THE UNITED STATES DV LOTTERY AND HE WIN AND TRAVELED TO
UNITED STATES AND

A- ONE DAY HE WAS WORKING WITH YEMENI STORE OWNER THE OWNER GAVE
ABDELWASE A GUN FOR SAFETY HE WEAR IT IN THE STORE ONLY FOR AN
HOURS AND WAS SEEN BY ONE CUSTOMER USED TO BOTHER ABDELWASE
AFTER THAT DAY

B- THE GOVERMENT SENT A WOMEN WORKING IN RESTURANT TO ABDELWASE
TO BE HIS GIRLFRIEND BUT HE REFUSED AND SHE STOPPED SENDING FREE
MEALS TO HIM AFTER THAT

C- ANOTHER DAY ABDELWASE HE WAS WORKING IN THE STORE AND GET
INJURED IN HIS HEAD BY A GLASS BOTTLE FROM CUSTOMERS SENT BY THE
GOVERMENT MAY BE TO EXTRACT A GUN IF HE HAVE AFTER THAT

D- ABDELWASE HIS ARM INJURED BY A CUSTOMER LIES TO HIM PUT YOUR
HANDS IN THE GLASS WINDOW THAT FOR NIGHT SHOP ABDELWASE TOLD
AMR ALL OF THAT BEFORE HE PASSED AWAY

3- ABDELWASE APPLIED FOR HIS FAMILY VISAS TO THE USA AND DURING THAT IN
DJIBOUTI ON 2019 A DRIVER CAME TO AMR AND OMAR IN THE NIGHT AND HE WAS
SUSPICIOUS AND TRIED TO BE THERE FRIEND AND HE SAID HE IS FROM FOREIGN
EMBASSY THIS BELIEVED TO BE A UNITED STATES AGENT STARTED TRACKING AMR
AND OMAR AND AFTER THAT
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A- ON 2020 THE FAMILY WAS TRAVELING FROM DJIBOUTI TO USA AT DUBAI
AIRPORT SOMEONE STARTED FOLLOWING THE FAMILY UNTIL THE UNITED
STATES JFK AIRPORT

ON 2020 BEFORE THE OTHER FAMILY PART AMR ABDELWASE ALAIDRUS AND OMAR
ABDELWASE ALAIDRUS AND OTHERS ARRIVED AIDRUS GOT MISTREATED FROM THE
GOVERMENT AGENT WHO DOES NOT HAVE A HAIR AT FRONT AIDRUS FATHER AT
THEIR WORK PLACE 85 Audubon Ave, New York, NY 10032 AND MANY TIMES
THEREAFTER

ON 2020 A WOMEN FROM THE GOVERMENT MISTREATED AMR FRONT HIS FATHER
AT FRONT A MARKET NEAR 3805 Broadway, New York, NY 10032 AFTER HE JUST CAME
TO THE UNITED STATES BY MONTHS

ON 2020 THE GOVERMENT SENT SOMEONE TO BOTHER AMR AND HIS FATHER AT 85
AUDUBON AVE, NEW YORK, NY 10032 WHICH IS THERE WORK PLACE HE THREW THE
BOX TO AMR FACE AND SAID IT IS EMPTY AND ANOTHER DAY TRIED TO FIGHT AMR
BY HIDDEN WEAPON AND GLASS BOTTLE AND TRIED TO OPEN THE PRIVATE WORK
DOOR AREA

ON 2020 THE GOVERMENT SENT A BLACK GUY WITH DISABILITY TO BOTHER AIDRUS
AND HE SPIT ON AIDRUS AND THREW HIM WITH AN UMBRELLA FRONT AMR AT 85
Audubon Ave, New York, NY 10032

ON 2020 THE GOVERMENT SENT SOMEONE CALLED BIG HARAMI WITH VERY SHORT
HAIR TO BOTHER AIDRUS AND BEFORE THAT TWO PEOPLE FRONT AMR
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9- ON 2021 AMR APPLIED FOR THE JOB CORPS BUT HE GOT REFUSED AND
DISCRIMINATED FOR WEAK ENGLISH DISPITE THEY OFFER ENGLISH AT THE
APPLING

10- ON 2021 AMR WENT TO AN TAX OFFICE WHOSE APPLIED FOR HIS FAMILY OMAR
ALAIDRUS AND AIDRUS ALAIDRUS THE PANDEMIC UNEMPLOYMENT ASSISTANCE

A- AMR APPLIED FOR PANDEMIC UNEMPLOYMENT ASSISTANCE BUT DELAYED BY
THE GOVERMENT AND INTENTIONALLY DISTRESSED HIM AND DISCRIMINATED
AGAINST AND

B- THE REASONS WAS FRIVOLOUS THE LAST ONE WAS PROOF OF RESIDENCY IN
NEW YORK STATE OF 2020 YEAR

C- AMR GAVE REASONABLE PROOF A NEW YORK MEDICAID CARD DATE PRINTED
ON BUT THEY REFUSED IT AND

D- AMR HE SUBMITTED AN AMAZON MAIL BUT THEY REFUSED IT WHILE THE
TREATMENT SHALL BE REASONABLY NOT IMPOSSIBLE REQUESTS AND ALSO

E- LATER ON AMR READED ON NEWSPAPERS MILLIONS OF DOLLARS ACCEPTED
FOR THE PANDEMIC UNEMPLOYMENT ASSISTANCE FOR THE ILLEGAL
IMMIGRANTS FUNDAMENTALLY THAT IS MEANS WITHOUT MOST DOCUMENTS

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11- ON 2021 THE GOVERMENT SENT A GIRL TO AMR TO BE HIS GIRLFRIEND AT 814
Eastern Ave, Schenectady, NY 12308 VIDEO AND PAPER AND PICTURE

12- ON 2021 THE GOVERMENT SENT OLD MEN WITH BIKE TO BOTHER AMR AT HIS WORK
PLACE 814 EASTERN AVE, SCHENECTADY, NY 12308 AND ANOTHER DAY SOMEONE
WHOSE RESIDENT AT 814 EASTERN AVE UNKNOWN FLOOR

13- ON 2021 THE GOVERMENT SENT SOMEONE RESIDENT TO BOTHER AMR AT 163 E
184th St, Bronx, NY 10468 APT 4B AND ONE DAY LEFT THE FOOD INTENTIONALLY
FRONT AMR APARTMENT
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14- ON 2021 THE GOVERMENT SENT THE PEOPLE OF 145TH HARLEM TO BOTHER AMR
AND THEY WAS DANGEROUS WITH GUNS AND THEY SAID PROFANITY AT HIS WORK
PLACE.

15- ON 2021 AMR WAS WORKING AS UBER DELIVERY WORKER AND ONE DAY HE GOT
ORDER AND THE CUSTOMER WAS SUSPICIOUS AND

A- HE TOLD AMR TO COME TO ANOTHER ADDRESS NOT STATED IN THE
APPLICATION AND IT WAS AN ELEVATOR AT TRAIN STATION

B- THE CUSTOMER BELIEVED TO BE A GOVERMENT AGENT TRIED TO CAUSE
HARM TO AMR AFTER THAT

C- AMR STOPPED DELIVERING PHONE CALL ARCHIVED

16- ON 2021 OR 2020 AMR STARTED WORKING AT CHOPCHEESE DELI | 4234 BROADWAY,
NEW YORK, NY 10033 AND

A- THE GOVERMENT SENT SOMEONE WAS WORKING AT GROCERY PLACE TO
BOTHER AMR FOR NO REASON AND

B- THE GOVERMENT SENT ANOTHER WOMEN TO HAVE CLOSE FRIENDSHIP WITH

AMR BUT AMR SAID IN THAT CALL NO WE DO NOT DO PRIVATE DELIVERIES
AND

C- THE GOVERMENT SENT SOMEONE WITH KNOWN NAME TO BOTHER AMR AND
HE WAS DANGEROUS AND

D- THAT PERSON HE SAID TO AMR FRONT THE STORE WORKERS LITERALLY ONE
DAY YOU WILL LEARN MEANS IF HE KILLED AMRIT IS A PERSONAL MATTER
AND THE STORE WORKERS ALREADY KNOWS NOT THE GOVERMENT AND

E- THE GOVERMENT THEY SENT SOMEONE TO FORCE AMR TO CHARGE THAT
PERSON HOT FOOD WITH EBT CARD AND HE WAS DANGEROUS AND
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F- THE GOVERMENT THEY SENT SOMEONE WORK WITH UBER TO ACT
VIOLENTLY FOR MULTIPLE TIMES

17- ON 2022 THE GOVERMENT SENT SOMEONE TO NEAR AMR HOUSE TO BOTHER HIM
AND TO SEE IF AMR HAVE A WEAPON AND TO MALIOUSLY PROSECUTE HIM THIS
REPEATED MULTIPLE TIMES AT 643 W 172ND ST, NEW YORK, NY 10032 AND

A- IN THE APT 2 THE GOVERMENT THEY ALREADY HAVE SOMEONE TO BOTHER
AMR AND TO SEE IF AMR HAVE A WEAPON AND

B- ANOTHER DAY THEY SENT TWO PEOPLE WAITING FOR AMR TO COME
OUTSIDE FROM THE MOSQUE ALRAHMAN AT 575 W 175TH ST, New York, NY
10033 FRONT THE CHURCH AND

C- THEY PUSHED AMR IN HIS SHOULDERS TO SEE IF AMR HAVE A WEAPON
MULTIPLE TIMES AT DIFFERENT STREETS

18- ON 2022 THE GOVERMENT SENT SOMEONE TO AMR AT THE MOSQUE ALRAHMAN
575 W 175TH ST, New York, NY 10033 HE START ACTING STRANGELY AND FROM HE IS
THE US ARMY AND

A- ANOTHER DAY AMR WAS WONDERING WHILE SEATING IN A POLICE VEHICLE
THAT ON THE WAY TO DROP AMR AND THE OTHERS AT NYPD PLAZA FOR
CELEBRATING THE ISLAMIC MONTH RAMADAN AND

B- AMR ASKED THE DRIVER WHILE THE CAMERA WAS OPEN IS THE RECORDING
ALLOWED BUT NO RESPONSE

C- AMR CLOSED THE CAMERA AND

D- THAT GOVERMENT AGENT WHO IS FROM THE US ARMY WAS HAPPY AND IN
THE MEETING THERE WAS TWO AGGRESSIVE POLICE OFFICERS BEHIND AMR
RECORDED AND

E- ANOTHER DAY THEY SENT SOMEONE TO THE MOSQUE ALRAHMAN AT 575 W
175TH ST, New York, NY 10033 ASKED AMR STRANGE QUESTIONS AND ONE
QUESTION WAS WHAT ABOUT THE JIHAD AND
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ANOTHER DAY THEY SENT SOMEONE TO THE MOSQUE ALRAHMAN AT 575 W
175TH ST, New York, NY 10033 AND HE WAS OVER APPRECIATING AMR AND
WANTS TO LEARN FROM AMR AND CALLED HIM SHEIKH AT ONCE AND

ANOTHER DAY THEY SENT SOMEONE TO AMR AT THE MOSQUE ALRAHMAN AT
575 W 175TH ST, New York, NY 10033 HE SAID THERE WAS SOME PEOPLE
KILLED HIS BROTHER AND

HE SHOW FRESH PICTURE AND WANTS HELP FROM AMR ILLEGALLY AND

ANOTHER DAY THEY SENT HOMELESS WOMEN TO THE MOSQUE ALRAHMAN
AT 575 W 175TH ST, New York, NY 10033 TO GIVE AMR. A HUG AND

ANOTHER DAY THEY SENT COUPLE OF PEOPLE TO THE MOSQUE ALRAHMAN
AT 575 W 175TH ST, New York, NY 10033 TO AGGRESSIVELY EXPLOTING AMR
MULTIPLE TIMES

19- THE GOVERMENT FBI AND CIA AND US ARMY AND OTHER AGENCIES KILLED THE
NEW JERSEY DISTRICT ATTORNEY AND

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THE DISTRICT ATTORNEY JESSICA AND

ANYONE FROM THE PEOPLE WHOSE HAVE A COMPENSATION CLAIM
THE SAUDI ARABIA STUDENT AT PENNSYLVANIA STATE AND
IMPRISON THE SAUDI ARABIA STUDENT KHALID ALDOSARI AND
KILLED MALCOM X AND

BEHIND 9 11 EVENES AND

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“ a
KILLED THE ARAB PEOPLE WORKING AT THE STORES AND

DESTROYED THE SAUDI ARABIA AIRPLANE ON 11 9 AND
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l- THE US ARMY DESTROYING THE YEMEN WHICH PREVENT AMR AND OTHERS

FROM RETURNING BACK TO THEIR COUNTRY AND THAT IS IF HE CAN
RETURNING AND

J- AMR THREATENED BEFORE FROM THE US ARMY RECORDED AND THE US AIR
FORCE ARMY RECORDED AND

K- ONE DAY FROM THAT US ARMY AGENT IN THE MOSQUE ALRAHMAN AT 575 W
175TH ST, New York, NY 10033 HEREINBEFORE AND

L- ANOTHER DAY A SNIPER CAME TO THE ROOF OF AMR HOUSE AT THE THIRD
FLOOR 100 IRVING ST, SCHENECTADY, NY 12308 AND

M- HE WAS WAITING FOR HIM TO COME OUT FROM THE BACK YARD AND

N- THE US AIR FORCE ARMY FLYING AT THE GOVERMENT TIMES NUMBERS FOR
EXAMPLE 9:11 AM 11:09 AM TO SCARE THE VICTIMS AND

O- RENAMING THE ROUTERS NEAR AMR HOUSE AT 100 IRVING ST,
SCHENECTADY, NY 12308 WITH F16 AND F18 MEANS THE US ARMY SHOULD
STOP DESTROING THE YEMEN AND ALSO THEY ARE TERRORIST

20- ON 2022 AMR WAS RECORDING IN THE STREET FRONT GEORGE WASHINGTON
BRIDGE AT 612 W 175TH ST, NEW YORK, NY 10033

A- THE GOVERMENT SENT SOMEONE WITH A DOG TO WATCH AMR AND

B- THEY SENT THE NYPD WITH SIRENS TO BOTHER AMR RECORDED

21- ON 2022 THE GOVERMENT SENT WOMEN WITH A VEHICLE TO INVITE AMR TO HER
HOUSE BEFORE FAJR PRAYER IN THE MIDNIGHT AT 172ND & BROADWAY ST, NEW
YORK, NY 10032
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22- ON 2022 AMR TOOK THE TRAIN TO THE APPLE COMPANY BUT BEFORE THE WORLD
TRADE CENTER TRAIN STOP SOME PEOPLE FROM THE GOVERMENT CAME AND
TRIED TO BOTHER AMR AND EXPLOTING HIM TO MALICOUSLY PROSECUTE HIM

THE DANGEROUS PEOPLE AT 172ND & BROADWAY
ST, NEW YORK, NY 10032 TO BOTHER AMR

24- ON 2022 THE GOVERMENT SENT SOMEONE TO BOTHER AMR AT HIS WORK PLACE
AT 1649 AMSTERDAM AVE, NEW YORK, NY 10031 AND

A- THAT SOMEONE HE INSIGHTS IN THAT TIME TO DO SOMETHING BUT AMR
QUITTED FROM THAT WORK

25- ON 2022 OR 2023 AMR WANTS TO RENT THE SAME LAST ROOM WHOSE RENT IT
BEFORE AT 643 W 172ND ST, NEW YORK, NY 10032 AND

A- AMR COMES TO SEE THE LANDLORD AND HE SAW SOMEONE LOOKS LIKE AS
HE WAS WAITING FOR AMR SINCE LONG TIME AND

B- HE BOTHER AMR AND HE MAY HAVE A WEAPON AFTER THAT AMR LEFT THE
ROOM AT ALL

26- ON 2022 OR 2023 AMR MOVED FROM NEW YORK CITY TO SCHENECTADY CITY TO
HIS FAMILY HOUSE AT 100 IRVING ST, SCHENECTADY, NY 12308 AND

A- THE GOVERMENT SENT SOMEONE TO SHOT THE HOUSE AT AMR PLACE SITE
EXACTLY AND POLICE REPORT AND PICTURE

27- ON 2022 OR 2023 THE GOVERMENT SENT SOMEONE WITH KNOWN NAME TO BE
OMAR FRIEND AND
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A-

B-

Gs

HE REPAIRED OMAR VEHICLE AND INTENTIONALLY THEY WANT KILL OMAR
AND

THE TIRE WAS NOT MOUNTED CORRECTLY AND WITH WRONG PARTS
INTENTIONALLY AFTER THAT

OMAR GOT ACCIDENT AT THE HIGHWAY AND IT WAS LEADING TO HIS DEATH
BUT HE WAS DRIVING SLOWLY

28- ON 2023 SINA ABDELWASE ALAIDRUS INGESTED UNKNOWN SUBSTANCE AND SHE
WAS SLEEPING AND

A-

B-

Cz

D-

E-

F-

G-

H-

THE FAMILY TOOK HER TO THE HOSPITAL ALBANY MED AND

SINA SHE WOKE UP IN THE TRANSPORTION BEFORE ARRIVING TO THE
HOSPITAL RECORDED AND

THE HOSPITAL AGGRESSIVELY MISTREATED THE FAMILY AND INTERROGATED
THE FAMILY MORE THAN 8 TIMES IN LESS THAN 15 HOURS AND THEY DID NOT
LET THEM SLEEP OR TAKE A REST FOR AT LEAST 1 HOUR AND

THE HOSPITAL AGGRESSIVELY MISTREATED AND TESTED SINA WITH
REPEATED PAINFUL DRUG TESTS AND

THEY CALLED THE CPS WITHOUT ANY EVIDENCE OF DRUG TEST AND

THE CPS ARRIVED AT THE HOSPITAL ALBANY MEDICAL CENTER AND

THE CPS EXPLOITED AND LIED TO THE FAMILY AND AMR BY SAYING WITHOUT
INTERPRETER SIGN THESE PAPERS TO SCHEDULE AN FUTURE MEDICAL
FOLLOW UP APPOINTMENT FOR YOUR SISTER SINA AND

THE PAPERS WAS FOR MEDICAL RECORDS RELEASE WHICH KNOWN LATER
AFTER THE TRANSLATION BY THE FAMILY MEMBER AMR WHOSE ALREADY
SIGNED THAT PAPERS AFTER THAT

THE CPS SCHEDULED AN FAKE DRUG SCREEN TEST APPOINTMENT FOR THE
FAMILY AND AFTER THAT

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J- THE CPS ASKED FROM AMR TO SCHEDOLE AN MEDICAL FOLLOW UP
APPOINTMENT FOR HIS SISTER SINA AND

K- AMR SAID BY A TEXT MESSAGE TO THE CASE WORKER YOU SAID IN THE FIRST
TIME THAT WE MET SIGN THOSE PAPERS TO MAKE AN FUTURE MEDICAL
FOLLOW UP APPOINTMENT FOR SINA AND

L- THE CPS WORKER IGNORED THAT MESSAGE AND CHANGED HER PHONE
NUMBER AND

M- THE CPS WAS BOTHERING AND EXPLOTING OMAR ABDELWASE ALAIDRUS
WHOSE IS A FAMILY MEMBER AND THE BROTHER OF SINA BUT NOT RESIDENT
WITH THE FAMILY AND NOT A PARTY AT ALL AND

N- THE CPS WAS AGGRESSIVELY BOTHERING THE FAMILY FOR THREE MONTHS
WITH VISITS AND THE LAW ONLY GIVE TWO MONTHS TO INVESTIGATE THEY
TAKE THREE MONTHS AND WAS UNFOUNDED

29- ON 2023 AMR AND FAROOQ WAS RETURNING FROM A ALBANY MED TO THE HOME
100 IRVING ST, SCHENECTADY, NY 12308 AFTER VISITING THEIR FATHER AND

A- ADRIVER IN THE HIGHWAY FROM THE GOVERMENT WITH A BLACK VEHICLE
AND HE WAS DO NOT HAVE HAIR AND LOOKS LIKE SERIAL KILLER AND

B- THE DRIVER WAS SILENT AND WEAR GLASSES AND CAME TO FRONT AMR AND
FAROOQ AND STOPPED HIS VEHICLE ABRUPTLY WANTED TO CAUSE AMR AND
FAROOQ TO CRASH AND

C- THE SCENE REPEATED WITH FAROOQ ON 2024 BUT NO CRASH HAPPENED

30- ON 2023 A GOVERMENT AGENT ASKED AMR WHAT TIME WILL WORK IN THE STORES
TO KILL HIM AND A VEHICLE TOOK PICTURES

31- ON 2023 AMR WAS AT CHINATOWN NEW YORK AND THE NYPD OFFICERS TRIED TO
KILL HIM
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A- THEY POINTED THEIR GUNS AT AMR AND

B- AMR REQUESTED FOOTAGES FOIL DATA FOIL-2023-056-17208 BUT NOT
DELIVERED

32- ON 2023 A GOVERMENT AGENT AND FROM THE US ARMY DAMAGED THE HOUSE
DOOR AT 100 IRVING ST, SCHENECTADY, NY 12308 FOR HOURS AT THE NIGHT AND

A- HE TRIED TO OPEN THE DOOR AND HE BROUGHT HEAVY DUTY TOOLS TO
BREAK THE HOUSE DOOR AND

B- HE USED THE LADDER AND OPENED THE WINDOW AND CAME INSIDE THE
HOUSE WHICH SCARED OMAR AND AMR FAMILY AND RECORD ARCHIVED

33- ON 2023 THE NEW YORK STATE POLICE ARRIVED TO ARREST SOMEONE FRONT 100
IRVING ST, SCHENECTADY, NY 12308 AND

A- THE NEW YORK STATE POLICE OFFICERS MISTREATED THAT ARRESTED
PERSON AND

B- THE NEW YORK STATE POLICE OFFICERS BOTHERED AMR ABDELWASE
ALAIDRUS AND HIS FAMILY AND USED PROFANITY AT FRONT 100 IRVING ST,
SCHENECTADY, NY 12308 AND

C- THE NEW YORK STATE POLICE LAUGHED ON AMR WITH PROFANITY MULTIPLE
TIMES AND AFTER THAT

D- AMR HEARD INJUSTICE CHARGES ON THAT ARRESTED PERSON AND ONE OF
THEM WAS PASSED STATUTES OF LIMITATIONS

E- AMR TRIED TO HELP THAT ARRESTED PERSON AND THE GOVERMENT WENT
AFTER AMR MORE WHILE AMR RESPECT THE GOVERMENT AND

F- AMR HE DID NOT FILED ALAWSUIT FOR THAT MISTREATMENT ON HIM AND HIS
FAMILY BY THE NEW YORK STATE POLICE AND MANY OTHER INCIDENTS AND
AFTER THAT
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G- THE ARRESTED PERSON CASE WAS FAKE AND HE WAS AN GOVERMENT
AGENT AND ALSO

H- THE GOVERMENT FORCED OMAR ABDELWASE ALAIDRUS BY HIS FRIENDS TO
BAIL THAT ARRESTED PERSON TO CAUSE TROUBLES AND EXPLOTING RICO
ACT AND

I- ANOTHER DAY WHILE AMR LOCKED ON HIM SELF IN THE HOME

J- THE GOVERMENT SENT THAT ARRESTED PERSON TO THE DOOR AT 100
IRVING ST, SCHENECTADY, NY 12308 TO LET AMR COME OUTSIDE TO KILL HIM
BY THE GOVERMENT AND RECORDS ARCHIVED

34- ON 2023 OR 2024 THE GOVERMENT BURNED AIDRUS ABDELWASE ALAIDRUS
APARTMENT AT NEW YORK CITY REMOTLEY AND

A- AS THEY TURNED OFF REMOTLEY THE CENTERAL HEATER AT 100 IRVING ST,
SCHENECTADY, NY 12308 AND THE PORTABLES HEATER IN THE COLD DAYS
AND

B- THEY TURNED FAROOQ ABDELWASE ALAIDRUS APPARTMENT OVEN TO
RELEASE GAS WITHOUT KNOWLEDGE ON 2024 RECORDS ARCHIVED AND

C- THEY TURNED THE OVEN TO RELEASE GAS WITHOUT IGNITATION WHILE AMR
JUST SLEPT THEY REMOTELY CONTROLLED IT AT 100 IRVING ST,
SCHENECTADY, NY 12308 AND

D- THEY BURNED AIDRUS ABDELWASE ALAIDRUS BUSINESS STORE AT NEW
YORK CITY AND

E- ON 2025 AT 100 IRVING ST, SCHENECTADY, NY 12308 THEY CAUSED ELECTRIC
SHOCK REMOTLEY IN THE HEATER AT 5: 42 PM MEANS NUMBER 9 AND 11 FOR
MULTIPLE TIMES

35- ON 2023 THE GOVERMENT SENT A GROUP OF PEOPLE TO DESTROY THE FAMILY
STORE MUNCHIES DELI GROCERY OF SCHENECTADY AT 814 EASTERN AVE,

SCHENECTADY, NY 12308 AND TO FIGHT AZAM AND THEY BREAKED AZAM PHONE
RECORDS ARCHIVED
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36- ON 2024 OR 2025 THE GOVERMENT SENT BLACK PEOPLE TO 100 IRVING ST,
SCHENECTADY, NY 12308 FIRST FLOOR TENANTS TO BOTHER AMR AND MAY BE KILL
HIM RECORDS ARCHIVED

37- ON 2020 THE GOVERMENT INJURED SOMEONE TO INSIGHTS TO FAROOQ THAT NO
GUARANTEE AT HIS NEIGHBORHOOD AND THEY BREAK FAROOQ ROOM DOOR
WHILE HE WAS OUTSIDE

38- ON 2024 THE GOVERMENT SENT WOMEN TO FAROOQ APPARTMENT DOOR AND SHE
WAS ABOUT TO KILL HIM WITH A KNIFE AFTER SHE JUST INJURED SOMEONE

39- ON 2023 AMR WENT OUTSIDE TO PRINT DOCUMENTS AND THE GOVERMENT
PREPARED TO KILL AMR AT WALGREEN PHARMACY 1203 Eastern Ave, Schenectady,
NY 12308 AND

A- THE GOVERMENT TOLD THE WORKERS TO SAY TO AMR WE DO NOT PRINT
HERE GO TO THE FAR AWAY MARKET32 AND

B- AMR HE WAS GOING TO THE MARKET32 BUT AMR HE SAW A WOMEN CAME TO
FRONT HIM AND HE CHANGED HIS WAY TO THE CVS PHARMACY ACROSS THE
STREET AND

C- THE WOMEN SHE FOLLOW AMR AND SHE WAS SUSPICIOUS AND SHE
SCREAMING AND SHE WENT TO THE CVS PHARMACY BEFORE AMR AND THE
METAL DETECTOR AT THE CVS PHARMACY DOOR ALARMED WHICH MEANS
SHE HAVE A GUN AND

D- SOMEONE CAME TO AMR AT THE CVS PHARMACY AND HE LAUGHED ON AMR
AND RECORDS ARCHIVED
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40- ON 2021 THE GOVERMENT SENT PEOPLE CRIMINALS AND NON CRIMINALS TO BE
OMAR FRIENDS TO FORCE AND MISLEAD OMAR TO ENROLL IN NOT GOOD WAYS

AND

A- ON 2020 OR 2021 THE GOVERMENT BEWITCHED OMAR AS HE INTERACTED

WITH TIME 9:11 AND 10:11 BADLY

B- WHICH KNOWN THESE NUMBERS TO BE FOR THE UNITED STATES

GOVERMENT AND

C- ON 2021 THE GOVERMENT GAVE OMAR HALLUCINATIONS AND UNKNOWN

SUBSTANCES DELIVERED BY HIS FRIENDS AND OMAR INGESTED THAT
WITHOUT A KNOWLEDGE IN FORM GIFT FOOD AND ALSO IN HIS PERSONAL
FOOD SECRETLY AS THE GOVERMENT DID WITH HIS BROTHER AMR LATER

D- ON 2023 AT ALBANY MEDICAL CENTER THE HOSPITAL GAVE AMR AN

UNKNOWN PILLS AND UNKNOWN INTRAVENOUSLY FLUIDS AND HIS BROTHER
AMR GET SICK FOR HIS LIFE AND

E- ON 2021 OMAR BEHAVIORS WAS UNUSUAL WHICH INDICATES SOMETHING

F- ON 2023 OMAR GOT A SHOT OK

VERY WRONG WAS HAPPENING AND

ON THE HOUSE BY THE FRIENDS WHOSE WAS
SENT BY THE GOVERMENT WHICH INSIGHTS THEY WAS VERY DANGEROUS TO
FORCE HIM TO TO ENROLL IN BAD THINGS AND

G- ANOTHER DAY RECORDED THEY SENT AN AGGRESIVE WOMEN TO THE HOUSE

AND THE WOMEN SHE WAS ABOUT TO BREAK THE DOOR AND SHE ASKED
DRUGS AND EVEN IF SOMEONE DO NOT HAVE HE WILL BE FOR THAT
DANGEROUS WOMEN AND

H- THE GOVERMENT MADE OMAR ENROLL IN BAD WAYS FORCIBLY AND

fe

UNETHICALLY AND

ANOTHER DAY ON ABOUT 2023 AMR WENT OUTSIDE OF 100 IRVING ST,
SCHENECTADY, NY 12308 NEW YORK AND HE SAW TWO UNKNOWN BLACK
FRIENDS OF OMAR ABOUT TO KILL OMAR AND

ANOTHER DAY THE GOVERMENT SENT TWO PEOPLE FROM OMAR FRIENDS TO
FORCE OMAR PAY MONEY AND MAY BE A DIRECTING FOR ANOTHER PEOPLE
TO KILL OMAR IF HE DID NOT PAY AND
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K- THEY SAID PAY MONEY FOR OUR UNCLE WHOSE WAS WORKING WITH YOU
AND PASSED AWAY AND THEY TOUCHED OMAR WITH THREATS MULTIPLE
TIMES RECORDED AND AFTER THAT

L- THE GOVERMENT THEY BRING SOMEONE WHOSE WEAR BROOKLYN SWEATER
WITH A WOMEN TO DO A TROUBLE ON OMAR AT 814 EASTERN AVE,
SCHENECTADY, NY 12308 RECORDED AND

M- THAT SOMEONE FROM BROOKLYN OR THE GOVERMENT MADE HIM WEAR
BROOKLYN SWEATER TO SCARE THE YEMENIS AFTER THAT

N- ANOTHER DAY OMAR JUST CAME FROM NEW YORK CITY TO 100 IRVING ST,
SCHENECTADY, NY 12308 AND

O- THERE WAS A VEHICLES PARKED FRONT THE HOUSE FROM THE GOVERMENT
SINCE BEFORE OMAR ARRIVED BY MINTUES AND

P- THERE WAS A VEHICLE FRONT OMAR DRIVING ARRIVED FIRST BEFORE OMAR
AT IRVING ST, SCHENECTADY, NY 12308 AND

Q- OMAR HE OPENED THE STORE MUNCHIES DELI GROCERY OF SCHENECTADY
AFTER HE JUST CAME FROM NEW YORK CITY BY ABOUT FIVE MINTUES AND

R- THAT PERSON WHOSE WEAR BROOKLYN SWEATER HE CAME TO THE STORE
WITH A DOG AND A WOMEN AND SAID TO OMAR SHOT ME AND HE TRIED TO
CATCH OMAR BUT OMAR QUITE AND

S- THAT PERSON HE PUT THE DOG NEAR OMAR AND BREAKED THE DISPLAY
GLASS AND

T- AGOVERMENT AGENTS WATCHING OMAR FROM UNDER THE TABLE IF HE
HAVE SOMETHING AND

U- ONE AGENT CALL 911 TO MAKE SOMETHING FRONT THE PUBLIC THAT OMAR
CALLED THE POLICE AND IF KILLED THAT IS THE REASON BECAUSE HE HAVE
TROUBLE WITH SOMEONE WHOSE HATE THE POLICE CALLS AND THAT KILL
WAS NOT FROM THE GOVERMENT AND

V- THE POLICE CAME AND THEY ARRESTED THAT PERSON WHOSE WEAR
BROOKLYN SWEATER AND THEY TOLD HIM THAT OMAR WHOSE CALL AND HE
KNOWS FUNDAMENTALLY AND THAT PERSON COMMANDED BY THE
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GOVERMENT FUNDAMENTALLY TO KILL OMAR AND SAYING IT IS A TROUBLE
PERSONALLY AND AFTER THAT

W- THE ARRESTED PERSON FAMILY STARTED SAYING HE WILL GET 15 YEARS IN
THE PRISON BECAUSE OF YOU MEANS IF HE KILLED OMAR THAT IS THE
REASON NOT THE GOVERMENT

41- ON 2024 THE GOVERMENT CAME TO ARREST OMAR ABDELWASE ALAIDRUS AND

A- THEY DID NOT FIND ANY DRUGS OR WEAPONS AND

B- THEY CHARGED OMAR WITH DRUGS AND FOOD STAMPS FRAUD AND

C- AS AMR EVIDENCED LATER ON THEY MAY PUT SPY DEVICES IN OMAR HOUSE
BECAUSE AN ESPRESSIF DEVICE CONNECTED TO THE WIFI AND

D- AMR WAS GETTING A SHOT FROM THE STREET WHILE AMR LOCKED ON HIM
SELF IN THE HOME AND NO ONE SAW HIM BEFORE AND THE WINDOWS WAS
CLOSED WHICH MEANS THERE IS A VIEW FROM THE HOUSE IN THAT TIME
AND

E- THE GOVERMENT DESTROVED THE CAMERAS AND THE WIRES AND THE
HOUSE DOORS INTENTIONALLY TO KILL AMR AND OMAR IF HE GET BAILED

LATER ON AND

F- THE GOVERMENT WAS PREPARED THAT THEY WILL SEND THAT PERSON WHO
WEAR BROOKLYN SWEATER MENTIONED HEREINBEFORE AND OMAR FRIENDS
TO KILL OMAR BUT THAT NOT HAPPENED AND

G- AFTER THEY ARRESTED OMAR THE GOVERNMENT DESTROYED THE
BASEMENT DOOR AND SEARCHED IN THE BASEMENT AT OMAR FAMILY HOUSE
100 IRVING ST, SCHENECTADY, NY 12308 AND

H- THE GOVERMENT SEARCHED IN FAROOQ ABDELWASE ALAIDRUS VEHICLE
AND

I- THE WARRANT NOT STATED TO SEARCH IN THE BASEMENT OR FAROOQ
VEHICLE AND
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J- AFTER THE ARREST AND SEARCHING BY MINTUES THE GOVERMENT SENT
AGENTS THEY ARE OMAR FRIENDS TO OMAR FAMILY SUGGESTING A LAWYER
FOR OMAR

K- THE LAWYER WAS AN AGENT WORKING WITH THE GOVERMENT AND THE
FAMILY ACCEPTED THAT WITHOUT KNOWLEDGE AND

L- ONE PERSON FROM THAT AGENTS WHOSE SUGGESTED THAT LAWYER IS
THAT PERSON WHOSE TRIED TO KILL OMAR BY LEAVING THE TIRE OF OMAR
VEHICLE UNMOUNTED MENTIONED HEREINBEFORE AND

M- AMR TOLD THE FAMILY ABOUT THAT PERSON WHOSE BROUGHT THAT AGENT
LAWYER HE IS A GOVERMENT AGENT WITH THE LAWYER BUT THE FAMILY DID
NOT BELIEVE AMR AND

N- AMR HE WAS NOT LEAVING THE HOUSE FOR LONG TIME BECAUSE THE
GOVERMENT WANTS TO KILL HIM AND AFTER THAT

O- OMAR HE CAN NOT TAKE CARE OF HIM SELF SINCE 2021 THE GOVERMENT
MANIPULATED HIM WITH A MAGIC AND UNKNOWN SUBSTANCES MENTIONED
HEREINBEFORE UNTIL TODAY APRIL 3 2025 HE NEED A GUARDIAN AND

P- THE GOVERMENT PROSECUTED OMAR IN ALBANY COUNTY NOT IN HIS
COUNTY OF SCHENECTADY AND AFTER THAT

Q- OMAR DEPRIVED OF THE BAIL RIGHTS AND HE CAN NOT PREPARE A DEFENSE
FOR HIM SELF AND

R- OMAR DEPRIVED FROM THE RIGHTS TO HAVE AN ATTORNEY AND COUNSEL
BECAUSE THE ao a AND CONTROLLED HIS LAWYER AND

S- THE GOVERMENT PREVENTED THE WITNESS AND THE GUARDIAN AMR FROM
PROVIDING HIS BROTHER OMAR AN ATTORNEY AND

T- THE GOVERMENT PREVENTED OMAR AND THE FAMILY FINANCIALLY FOR
EXAMPLE AGAINST SELLING HIS VEHICLES AND DELAYED HIS TAX RETURN
PAYMENT TO RESTRICT THEIR LIVES AND

U- AMR HE WAS NOT TALK WITH HIS BROTHER OMAR VIA THE PHONE WHILE
OMAR IN THE JAIL BECAUSE HE SCARE FROM THE GOVERMENT AND
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V- AMR WAS THE GUARDIAN FOR OMAR AND HAVE ALL THE EVIDENCES FOR
OMAR BUT THE GOVERMENT CHASING AMR AND PREVENTED AMR FROM
HELPING HIS BROTHER OMAR UNTIL THE FINAL SENTENCE AFTER NEARLY A
YEAR AND

W- DURING THAT YEAR THE LAWYER WAS INEFFECTIVE OR INTERESTED AND HE
DAMAGED OMAR AND HE MADE HIM GUILTY AND ADVISED HIM WRONGLY AND
NOT HELPED HIM EVEN WITH THE BAIL AND HE WAS JUST DEPLETING OMAR
FAMILY FINANCIALLY AND HE WORKS WITH THE GOVERMENT
FUNDAMENTALLY AGAINST OMAR AND

X- OMAR MISTREATED BY THE JUDGE HE SCREAMING ON HIM FOR A CPS CASE
NOT FOR OMAR IT IS FOR HIS SISTER SINA AND

Y- THE CPS CASE WAS OLD AND CLOSED UNFOUNDED BUT MALICOUSLY
PROSECUTED OMAR AND

Z- THE GOVERMENT ASKED FROM OMAR HIS MESSAGES WITH HIS FRIENDS TO
RELEASE HIM AND

I- OMAR FRIENDS WAS AN AGENTS WORKING WITH THE GOVERMENT
FUNDAMENTALLY AND

Il- THE GOVERMENT TRIED TO GIVE OMAR HIS PESONAL PHONE BUT OMAR HE
REFUSED BECAUSE NO REASON AT ALL AND OUTSIDE THE CASE AND

IIl- THE GOVERMENT PURPOSE WAS TO DO TROUBLES TO KILL OMAR AND HIS
BROTHER AMR BY OMAR FRIENDS AND

IV- THE GOVERMENT TOLD THEIR AGENTS WHOSE OMAR FRIENDS A WRONG
THINGS TO KILL OMAR AND

V- EVERY TIME THE GOVERMENT ARRESTING SOMEONE FROM OMAR FRIENDS
AND BRING THEM NEAR OMAR TO KILL HIM AMR SAY | KNOW HIM HE IS WORKING
WITH THE GOVERMENT AND I HAVE EVIDENCE AND

VI- THE GOVERMENT BRING ANOTHER ONE AND

Vil- THE GOVERMENT GAVE OMAR HALLUCINATIONS AGENTS AND UNKNOWN
SUBSTANCES IN THE FOOD WHILE HE IN THE PRISON RECORD ARCHIVED AND
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Vill- THE GOVERMENT SENT DAN SEROUS PEOPLE AND OMAR FRIENDS TO
THREAT OMAR IN THE JAIL EVIDENCE ARCHIVED AND

IX- OMAR STAYED IN THE JAIL WITHOUT BAIL UNTIL SENTENCED ON FEBRUARY
12 2025 FOR ONE YEAR AND

X- OMAR TOLD HIS LAWYER WHOSE WORKING WITH THE GOVERMENT TO
APPEAL BUT HE IGNORED AND

XIl- THE GOVERMENT PREVENTED OMAR FROM APPEAL BY LET HIM IN THE
TRANSIT PRISONS BUT ON MARCH 24 2025 THEY FINALLY PLACED HIM IN THE
SUPPOSED JAIL WHICH WASTED THE TIME TO APPEAL AND

XIl- THE GOVERMENT WANTS TO DEPORT OMAR TO HIS COUNTRY YEMEN

42- ON 2023 AMR SUSPECTED TO HAVE BOTULISM

A- AMR WENT TO THE HOSPITAL ALBANY MEDICAL CENTER FOR FIRST THE TIME
IN HIS LIFE VISITING A HOSPITAL AND

B- THERE WAS NO SIGNS OF ILLNESS WHEN AMR ARRIVED TO THE HOSPITAL
AND

C- THE ALBANY MEDICAL CENTER GAVE HIM UNKNOWN SUBSTANCES IN FORM
PILLS AND TWO TIMES WAS INTRAVENOUSLY AND HE WAS ABOUT TO HAVE
COMA RECORDED AND

D- AFTER THAT BY DAYS AMR START FEEL SICK FOR THE FIRST TIME IN HIS LIFE
AND

E- AMR GOT STROKE SYMPTOMS AND PALPITATIONS AND DECREASED
CONGITVE AND OTHERS SYMPTOMS AND

F- AMR STARTED VISITING THE HEALTH CENTERS AND CALLING 911 MULTIPLE
TIMES AND HE DID NOT SLEEP SOME DAYS FOR THE FIRST TIME SICK LIKE
THAT AND

G- THERE WAS NO HEALTH CENTER WANTS TO DIAGNOSE AMR OR TREAT HIM
AND HE ASKED BASIC TESTS BUT NO HEALTH CENTER HELPED HIM AND
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H- AMR VISITED THE HOSPITALS AND URGENT CARE CENTERS AND CALLED 911
MORE THAN 28 TIMES IN LESS THAN FOUR MONTHS AND

|- DURING THAT FOUR MONTHS AMR TRAVELED FROM SCHENECTADY CITY TO
NEW YORK CITY MULTIPLE TIMES TO GET TREATED BUT NO ONE WANTS TO
DIAGNOSE HIM OR TREAT HIM BECAUSE THE GOVERMENT COMMANDING
THEM AND

J- THE HEALTH CENTERS WAS DOING UNIMPORTANT TESTS IN THAT TIME AND
CONDITION AND THE TESTS WAS CBC AND CMP AND LEAVING THE OTHER
IMPORTANT TESTS LIKE THE BLOOD CULTURES AND MALARIA AND SCANS
LIKE MRI AND PET AND

K- THE HEALTH CENTERS WAS COMMANDED TO TELL AMR YOU ARE HEALTHY
AND FIND A PRIMARY CARE DOCTOR WHICH WILL TAKES MONTHS AND THE
CONDITION WAS EMERGENCY AND

L- THE GOVERMENT SENT SOMEONE TO EXPLOIT AMR AT THE HOSPITAL
ALBANY MEDICAL CENTER AND

M- HE TOLD AMR ABOUT THE WHITE PEOPLE AND THAT PERSON HE HATE THEM
BECAUSE HE IS A BLACK TOLD AMR AND

N- HE TRIED TO EXPLOIT AMR AGGRESIVELY AND BOTHERED AMP AS A PATIENT
RECORD ARCHIVED AND

O- ANOTHER DAY THE GOVERMENT SENT A WOMEN SHE SAID SHE IS FROM
TEXAS TO MOUNT SINAI HOSPITAL AT NEW YORK CITY AND

P- SHE TOLD AMR WOW ISLAM IS INCREASING AND SHE ASKED MONEY AND SHE
LIED TO AMR SHE IS HOMELESS AND

Q- SHE TRIED TO GIVE AMR DRINK CONTAMINATED AND RECORD ARCHIVED AND
AFTER THAT

R- AMR FOUND A DOCTOR AT 14 MEDICAL STREET CENTER NEW YORK CITY AND
WHILE HE WAS RETURNING BACK FROM NEW YORK CITY TO HIS CITY
SCHENECTADY THE GOVERK ENT SENT TO THE BUS FOUR PEOPLE TO KILL
AMR AND ;

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S- AMR WARNED THAT AND HE TOLD SOMEONE TO CALL 911 BEFORE ARRIVAL
AND RECORD ARCHIVED AND

T- AMR TRAVELED TO NEW YORK CITY TO DO CSF TEST BECAUSE HE WAS IN
NEEDS OF THAT AFTER HIS CONDITION WORSING AND HE GOT HEART ATTACK
AND BRAIN FOG AND PALPITATIONS AND HIGH BLOOD PRESURE AND OTHER
SYMPTOMS AND

U- AMR WENT TO NEW YORK PRESBYTERIAN HOSPITAL AT 622 W 168TH ST, NEW
YORK, NY 10032 BUT THEY DID NOT PERFOM CSF TEST DISPITE AMR WAS IN
NEED OF THAT AND

V- AMR WENT TO MOUNT SINAI AT NEW YORK CITY AND

W- AT THE EMERGENCY ROOM SOMEONE FROM THE GOVERMENT WHOSE WAS
FOLLOWING AMR SINCE A DAYS POINTED HIS HAND AS A GUN AND AS HE
KILLED AMR AND AMR IGNORED THAT AND

X- AMR ASKED FROM THE HOSPITAL CSF TEST BUT DENIED AND THEY TOLD AMR
MAY BE THE PSYCHOLOGIST WILL ORDER THAT TEST IF YOU SEE HER AND
AMR SAID OKAY AND THEY CHANGED AMR CLOTHES TO SEE HER BUT SHE DID
NOT ORDERED THAT TEST AND

Y- THE HOSPITAL DISCHARGED AMR AND HE TOOK HIS BELONGINGS FROM THE
SECURITY AND

Z- AMR HE FOUND HIS PHONE MAY PHYSICALLY EXTRACTED AND THE PHONE
KERNAL CHANGED KNOX APPEARED AND PICTURE ARCHIVED AND

l- AMR WENT OUTSIDE MOUNT SINAI HOSPITAL AND HE SAW MANY GOVERMENT
AGENTS AROUND HIM ACTING STRANGELY AND

Il- AMR HE TOOK A BUS TO GO TO 14 MEDICAL STREET CENTER AT NEW YORK
CITY AND HE SAW IN THE BUS ALOT OF JUDGES COMES AND GOVERMENT
AGENTS AND

IIl- IN THE BUS AMR HE WAS BEWITCHED SINCE LONG TIME BY THE GOVERMENT
WITH A DEATH MAGIC WHICH ALMOST EVERY THING AMR WILL DO MAY BE WILL
LEAD TO HIS DEATH AND
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IV- THERE WAS SOMEONE IN THE BUS LOOKS STRANGLEY LIKE A WIZARD AND
MAY BE HE MADE AMR PRESS THE BUS STOP BUTTON BEFORE THE WANTED
STOP AND

V- THE PRESSED STOP AMR MISTAKENLY MADE WAS FRONT COURT AND

eae

VIl- AMR ARRIVED TO 14 MEDICAL STREET CENTER FOR UPCOMING TEST AMR
WAITED FOR THAT AND

Vill- THE GOVERMENT AGENTS FOLLOWING AMR AND BOTHER HIM VISIBLY WITH
THE PERSON WHOSE POINTED WITH HIS HAND AS A GUN AT MOUNT SINAI AND

IX- AFTER AMR DID THE TEST AMR ASKED ABOUT THE MRI TEST AND THEY TOLD
HIM IT IS CHANGED WHICH LOOKS AS THE GOVERMENT PREVENT HIM FROM
DOING THAT WAITED MRI SCAN TEST AND AFTER THAT

X- AMR WENT TO THE TRAIN STATION TO BACK TO HIS CITY OF SCHENECTADY
BUT STOPPED BECAUSE THERE WAS SOME PEOPLE FROM THE GOVERMENT
FOLLOW HIM AND WANTS TO KILL HIM AND

XI- AMR TOLD THE NYPD BUT THEY SAID NOTHING WILL HAPPEN GO AND THEY
INTENTIONALLY ACTED BAD AND LEFT AMR SCARE IN THE STATION AND THEY
DID NOT EVEN STAY IN THERE POSITION BECAUSE THEY ARE COMMANDED TO
LEAVE AND

XIl- THE AGENTS FRONT AMR INCREASED AMR CALLED 911 MULTIPLE TIMES
WITHOUT RESPONS PHONE CALLS ARCHIVED AND

XIll- SOMEONE RECORDED AMR VIDEO WITH THE CAMERA FLASHLIGHT ON AND
LAUGHING FRONT THE NYPD AND

XIV- AMR CALLED THE FBI AND THE NEW YORK STATE POLICE TO ARREST HIM IF
THERE IS AN PENDING WARRANT BUT THEY SAID NO PHONE CALLS ARCHIVED
AND

XV- AMR CALLED ATTORNEYS BUT THEY NOT HELP AND AMR TOLD HIS FAMILY
AND AMERICAN CIVIL LIBERTIES UNION AND
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XVI- AMR TOOK THE TRAIN AND SOMEONE POINTED ON HIS NECK AS A DEATH TO
KILL AMR AND

XVII- AMR ARRIVED AT ALBANY RENSSELAER AND REQUESTED UBER AND

XVIIl- AMR CAME OUTSIDE AND HE SAW THE DRIVER A GOVERMENT AGENT
TALKING WITH A GROUP OF PEOPLE NEAR THE VEHICLE TO SCARE AMR AND

XIX- AMR HE TOOK THE VEHICLE RIDE ANYWAY BECAUSE HE BELIEVE HE DID
NOT DID SOMETHING WRONG TO THE GOVERMENT AND

XX- THERE WAS A PEOPLE IN THE BACK OF THE UBER VEHICLE AND

XXI- AMR ARRIVED TO THE HOUSE 100 IRVING ST, SCHENECTADY, NY 12308
SCARED AND

XXIl- ANOTHER DAY A SHOT COMES TO THE HOUSE AND

XXIll- AMR CALLED 911 AND THE POLICE OBTAINED THE RECORDS FROM
MUNCHIES DELI GROCERY OF SCHENECTADY AND ALSO SENT BY AMR
ELECTRONICALLY AND VIDEO ARCHIVED AND

XXIV- ANOTHER DAY SOMEONE FROM THE GOVERMENT SENT TO AMR A TEXT

MESSAGE ASKING SOMETHING FROM MUNCHIES DELI GROCERY OF
SCHENECTADY AND

XXV- AMR WENT OUTSIDE TO FIND A FOOTAGES FOR THAT GOVERMENT AGENT
REQUEST AND

XXVI- SOMEONE SUSPICIOUS CAME TO THE STORE MUNCHIES DELI GROCERY OF
SCHENECTADY AND

XXVII- AMR TRIED TO GO TO THE HOME 100 IRVING ST, SCHENECTADY, NY 12308
BUT THAT PERSON WANTS TO KILL HIM AND

XXVIII- AMR SENT A MESSAGE TO 911 MULTIPLE TIMES AND

XXIX- THE SCHENECTADY CITY POLICE ARRIVED TO THE STORE MUNCHIES DELI
AND SAID WHO IS THAT SCREAMING RECORDED AND

XXX- THE POLICE COOPERATED WITH THAT KILLER AND
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XXXI- EVERY TIME AMR WANTS TO GO TO THE HOME THAT PERSON ACT
SUSPICIOUSLY AND LEAVE THE STORE FIRST BEFORE AMR AND

XXXII- AMR LEFT THE STORE FRONT THE POLICE AND

XXXIII- AMR COMES AND SOMEONE ALREADY WAITING FOR HIM FRONT THE
HOUSE 100 IRVING ST, SCHENECTADY, NY 12308 AND HE LEFT

XXXIV- AMR ARRIVED TO THE HOUSE AND CALLED 911 TO SPEAK WITH THE
POLICE BUT THE OPERATOR COMMANDED AMR TO COME OUTSIDE AMR DENIED
AND

XXXV- AMR CALLED THE POLICE AND ASKED A SAFE PLACE UNTIL HE TRAVEL
BUT THEY DID NOT OFFER FOR HIM AND NOT EVEN THE DOMESTIC VIOLENCE
SHELTERS AND AFTER THAT

XXXVI- AMR LOCKED HIM SELF IN THE HOME AND

XXXVII- ANOTHER DAY A GOVERMENT AGENTS ARRIVED TO MUNCHIES DELI
GROCERY OF SCHENECTADY AND

XXXVIIIl- THEY SERVED THE WORKER WITH A PAPER SUBPOENA FROM THE
COURT FOR AMR TO BRING EVIDENCE ALREADY DELIVERED TO THE
GOVERMENT BY THE POLICE OBTAINING AND BY AMR ELECTRONICALLY BUT
THEY SAID TO SAY THAT VIDEO IS FROM THE STORE AND

XXXIX- THE STORE OWNER NOT AMR BUT THEY CHOOSED AMR AND THE
WORKER CONFUSED THEM HE SAID MAY BE YOU MEAN OMAR BECAUSE HE IS
THE OWNER AND THE GOVERMENT AGENTS CHANGED THAT SUBPOENA
IMMEDIATELY TO OMAR NAME AND

XL- THE PURPOSE WAS TO GET AMR OUTSIDE THE HOUSE AGAIN BECAUSE AMR
LOCKED ON HIM SELF TO KILL AMR AND OR TROUBLES FOR AMR AND OMAR AND

XLI- AMR LOCKED HIM SELF IN HIS HOUSE FOR ONE YEAR AND MORE NOT GO
OUTSIDE AND SUFFERING FROM HIS ILLNESSES
